












Dismissed and
Memorandum Opinion filed December 23, 2010.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00260-CV

____________

&nbsp;

BACH, L.P. AND CHARLES TRINH, Appellants

&nbsp;

V.

&nbsp;

MICHELLE UYEN TRAN TRUONG, PAUL TRUONG, T. L. GENERAL
CONSTRUCTION, INC., THANH CANH LE, LE INSURANCE AGENCY, JERRY A. MONTGOMERY,
AND ALL-TECH FUEL SYSTEMS, Appellees

&nbsp;

&nbsp;

&nbsp;



On Appeal from the 55th District Court

Harris County, Texas

Trial Court Cause No. 04-12588

&nbsp;

&nbsp;



MEMORANDUM
&nbsp;OPINION

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This is an appeal from a judgment signed February 20, 2006.&nbsp;
On June 1, 2006, this court abated the appeal because appellant petitioned for
voluntary bankruptcy in the United States Bankruptcy Court for the Southern
District of Texas, under cause number 05-93438.&nbsp; See Tex. R. App. P. 8.2.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Through the Public Access to Court Electronic Records (PACER)
system, the court has learned that the bankruptcy case was closed on December
4, 2006.&nbsp; The parties failed to advise this court of the bankruptcy court
action.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On November 18, 2010, this court issued an order stating that
unless any party to the appeal filed a motion demonstrating good cause to
retain the appeal within twenty days of the date of the order, this appeal
would be dismissed for want of prosecution.&nbsp; See Tex. R. App. P.
42.3(b).&nbsp; No response was filed.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Accordingly, we reinstate the appeal and order it dismissed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

Panel consists of Justices Seymore,
Boyce, and Christopher.





